Case 5:22-cv-00287-JWH-SP Document 12 Filed 02/25/22 Page 1 of 16 Page ID #:59
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                          UNITED STATES DISTRICT COURT
  10
                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12 MARTIN VARGAS                             Case No. 5:22−cv−00287−JWH−SP
  13                Plaintiff(s),
                                               STANDING ORDER
  14        v.
  15 UNITED STATES IMMIGRATION
     AND CUSTOMS ENFORCEMENT, et
  16 al.
  17               Defendant(s).

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  19
  20
  21   PLEASE READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

  22       AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

  23
  24   •     If this case was removed to this Court, then the removing Defendant is

  25   DIRECTED immediately to serve this Order on all other parties.

  26   •     Otherwise, Plaintiff is DIRECTED immediately to serve this Order on all

  27   parties.

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   1         This action has been assigned to the calendar of Judge John W. Holcomb.

   2         The Court and the litigants bear joint responsibility for the progress of

   3    litigation in the Federal Courts. To secure the just, speedy, and inexpensive

   4    determination of every action, see Fed. R. Civ. P. 1, all counsel are hereby

   5    ORDERED to become familiar with the Federal Rules of Civil Procedure

   6    and the Local Rules of the Central District of California.

   7         The Court further ORDERS as follows:

   8         1.   Service of the Complaint. Plaintiff shall serve the Complaint

   9    promptly in accordance with Rule 4 of the Federal Rules of Civil Procedure and

   10   shall file the proofs of service pursuant to L.R. 5-3.1.

   11        2.   Removed Actions. Any answers filed in state court must be re-filed

   12   in this Court, either as an exhibit to the Notice of Removal or as a separate filing.

   13   Any pending motions must be re-noticed in accordance with L.R. 6-1.

   14        3.   Assignment to a Magistrate Judge. Under 28 U.S.C. § 636, the

   15   parties may consent to have a Magistrate Judge preside over all proceedings. The

   16   Magistrate Judges who accept those designations are identified on the Central

   17   District’s website, which also contains the consent form.

   18        4.   Electronic Filing. This Court uses an electronic filing system for

   19   documents. Information regarding the Court’s Electronic Case Filing system is

   20   available on the Court’s website at www.cacd.uscourts.gov/cmecf.

   21        All documents required to be e-filed in this matter can be found in General

   22   Order No. 10-07 (as updated and amended) and L.R. 5-4. The Court

   23   specifically directs litigants to L.R. 5-4.3.1, requiring that all electronically filed

   24   documents be created by publishing the document to PDF, and not by scanning

   25   paper documents.

   26        5.   Mandatory Chambers Copies. All original filings are to be filed

   27   electronically pursuant to L.R. 5-4. The Court requires one (1) Mandatory

   28   Chambers Copy of ONLY the following filed documents:


                                                 −2−
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  1             a.      Civil matters: Motions and related documents (e.g.,

  2         oppositions, replies, exhibits); ex parte applications and related documents

  3         (e.g., oppositions and exhibits); and Joint Rule 26(f) Reports;

  4             b.      Criminal matters: All motions and related documents and

  5         exhibits; plea agreements(s); and sentencing memorandum and objections to

  6         the pre-sentence reports.

  7    Mandatory Chambers Copies shall be delivered to the Courtesy Box, located

  8    outside of Courtroom 2 on the second floor of the United States District Court,

  9    3470 Twelfth Street, Riverside, California 92501, no later than 5:00 p.m. on the

  10   first court day following the e-filing. Alternatively, Counsel may transmit such

  11   conformed Mandatory Chambers Copies via FedEx, UPS, or other overnight

  12   service, for delivery no later than 5:00 p.m. on the first court day following the

  13   e-filing, addressed to the Chambers of Judge John W. Holcomb, U.S. District

  14   Court for the Central District of California, Courtroom 2, 3470 Twelfth Street,

  15   Riverside, CA 92501. All Mandatory Chambers Copies shall comply with the

  16   document formatting requirements of L.R. 11-3, except for the blue-backing

  17   requirement of L.R. 11-4.1, which is hereby waived. If the filing party and its

  18   counsel fail to deliver a Mandatory Chambers Copy in full compliance with this

  19   Order and L.R. 11-3, the Court may, on its own motion, reschedule any related

  20   hearing and impose sanctions.

  21        6. Proposed Orders. Each party filing or opposing a motion or seeking

  22   the determination of any matter shall serve and electronically lodge a proposed

  23   order that sets forth the relief or action sought and a brief statement of the rationale

  24   for the decision with appropriate citations.

  25        7. Presence of Lead Counsel. Lead trial counsel for each party must

  26   attend every status conference, scheduling conference, and pretrial conference set

  27   by the Court. Failure of lead trial counsel to appear for those proceedings is a

  28   basis for sanctions.


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  1         8. Discovery. All discovery matters have been referred to a United

  2    States Magistrate Judge. The Magistrate Judge’s initials follow the District

  3    Judge’s initials in the case number assigned to the matter. The words

  4    “DISCOVERY MATTER” shall appear in the caption of all documents relating to

  5    discovery to insure proper routing. Unless the assigned Magistrate Judge explicitly

  6    waives the Mandatory Chambers Copy rule, Counsel shall deliver Mandatory

  7    Chambers Copies of discovery-related papers to the assigned Magistrate Judge

  8    (rather than to this Court).

  9         9. Motions - General Requirements.

  10             a. Time for Hearing Motions. Motions shall be filed and set for

  11        hearing in accordance with L.R. 6-1. Motions will be heard on Fridays

  12        commencing at 9:00 a.m. Any motion noticed for a holiday shall

  13        automatically be set to the next Friday without further notice to the parties.

  14             b. Length and Format of Motions. Memoranda of Points and

  15        Authorities in support of or in opposition to motions shall not exceed 25

  16        pages. Replies shall not exceed 12 pages. Only in rare instances, and for

  17        good cause shown, will the Court grant an application to extend these page

  18        limitations. When citing to legal databases, wherever possible cite to

  19        Westlaw rather than Lexis.

  20             c. Voluminous Materials. If documentary evidence in support of

  21        or in opposition to a motion exceeds 50 pages, the evidence must be

  22        separately bound and tabbed and include an index. If such evidence exceeds

  23        200 pages, the documents shall be placed in a three-ring binder, with an

  24        index and with each item of evidence separated by a tab divider.

  25             d. Withdrawal of, or Non-Opposition to, Motions. In the event

  26        that the parties resolve a pending motion, they must notify the Court

  27        immediately. Sanctions may issue for failure to comply with this

  28        requirement, or the broader requirement set forth in L.R. 7-16 that any party


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Case 5:22-cv-00287-JWH-SP Document 12 Filed 02/25/22 Page 5 of 16 Page ID #:63
   1         who intends to withdraw a motion, not to oppose a motion, or to seek a

   2         continuance of the hearing date for a motion, must notify the Court by

   3         12:00 noon on the Tuesday preceding the hearing date.

   4         10. Amended Pleadings. In addition to the requirements of L.R. 15, all

   5    motions to amend pleadings shall (a) state the effect of the amendment; and

   6    (b) identify the page(s), line number(s), and wording of any proposed change or

   7    addition of material.

   8         Parties amending their pleadings for whatever reason−including those

   9    previously dismissed with leave to amend−must file a redlined copy (in PDF or

   10   Microsoft Word) as a Notice of Revisions, comparing their amended pleading with

   11   their previous pleading. An additional copy of the redlined pleading shall be

   12   provided to Chambers by email at JWH_Chambers@cacd.uscourts.gov on the

   13   same day that the amended pleading is filed electronically. Handwritten pleadings

   14   are the only exception. When handwritten pleadings are amended, the party shall

   15   identify which paragraphs have been modified in a separate statement. This

   16   paragraph applies equally to complaints, answers, cross-complaints, and

   17   supplemental pleadings. Absent a showing of good cause, failure to comply with

   18   this paragraph will result in the Court striking the amended pleading.

   19        11. Class Actions. Notwithstanding L.R. 23-3, the deadline for the filing

   20   of a motion for class certification will be set during the Scheduling Conference

   21   and/or in a Scheduling Order. If the Court does not expressly set a separate

   22   deadline for the filing of a motion for class certification, then such deadline shall

   23   be the same as the deadline for filing dispositive motions. No request for relief

   24   from L.R. 23-3 is necessary.

   25        12. Motions for Summary Judgment or Partial Summary Judgment.

   26   This Court’s procedures for summary judgment motions differ from those set

   27   forth in Rule 56 and in this Court’s Local Rules. Please read this paragraph

   28                             carefully and comply with it.


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  1    No party may file more than one motion pursuant to Rule 56 of the Federal Rules

  2    of Civil Procedure regardless of whether such motion is denominated as a motion

  3    for summary judgment or summary adjudication.

  4              a. The Joint Exhibit

  5          Parties must consolidate any exhibits, affidavits, declarations, or other

  6    documents cited as evidence into a single document (the “Joint Exhibit”).¹ If the

  7    file is too large to upload as a single document, then the parties may break it into

  8    two or more files; e.g., Joint Exhibit Part A, Joint Exhibit Part B, and so on.

  9    Whether in a single document or several, the Joint Exhibit should be consecutively

  10   paginated. For example, if the first document (Part A) starts at page 1 and ends at

  11   page 100, then the second document (Part B) should begin on page 101, and so on.

  12   A table of contents, if needed, should be submitted under separate cover.

  13         A recommended format the parties may adopt when citing to the Joint

  14   Exhibit is “Joint Exhibit Part C at 250:3-7 (Deposition of Passenger B),” where:

  15       • “Joint Exhibit Part C” indicates this evidence can be found in the third

  16         document (assuming here that the Joint Exhibit had to be broken up into

  17         multiple documents);²

  18       • “250” represents the page number of the Joint Exhibit where the evidence

  19         can be found;

  20       • “3-7” indicates that the evidence can be found on lines 3 through 7; and

  21       • the parenthetical “Deposition of Passenger B” is a concise, descriptive title

  22         of the underlying source document or evidence being cited.

  23         Parties offering evidence in support of, or in opposition to, a Rule 56 motion

  24   must cite to specific page and line numbers in depositions and paragraph numbers
       ____________________
  25
       1     The Court excludes non-evidentiary documents on the docket from this
  26   definition; e.g., the complaint, the answer, prior motions, and past orders.
  27   2     If the documents and evidence of the Joint Exhibit can fit as one PDF, then
       there is no need for the suffix “Part A.” The parties would simply cite it as “Joint
  28   Exhibit at 250:3-7 (Deposition of Passenger B).”


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  1    in declarations and affidavits. If a line number or paragraph number is not available

  2    (e.g., the citation is to a visual image or a handwritten note or some other document

  3    without identifiable lines or paragraph numbers), only then will providing the page

  4    number(s) suffice. Furthermore, such evidence must be authenticated properly.

  5    The Court directs the parties to become familiar with Orr v. Bank of America, NT &

  6    SA, 285 F.3d 764(9th Cir. 2002).

  7             b.    Joint Statement of Undisputed Facts and Genuine Disputes

  8         The moving party’s motion shall also be accompanied by a Joint Statement

  9    of Undisputed Facts and Genuine Disputes (a “Joint Statement”). The parties

  10   must cite to the Joint Statement in their respective briefs for any fact they wish to

  11   identify as a material fact under Rule 56(a). In turn, the Joint Statement will cite

  12   only to the Joint Exhibit. Citations found in the briefs to any individual exhibits or

  13   the Joint Exhibit will be disregarded.

  14        Prior to filing the motion, the parties shall meet and confer to complete that

  15   Joint Statement. The Joint Statement shall be presented in a table format and shall

  16   include the following columns:

  17     • The first column shall contain the number of the fact alleged to be

  18        undisputed.

  19     • The second column shall name the party proposing the statement of fact (the

  20        “Proponent”).

  21     • The third column shall contain a plain statement of the fact. Facts shall not

  22        be compound. For instance, if the opposing party (the “Opponent”) could

  23        respond by asserting that the fact is disputed only in part, then the fact is

  24        compound. By meeting and conferring, the Court expects the parties to

  25        resolve any instances where compound facts are “disputed in part” by

  26        making those factual statements more granular, noting which elements are

  27        disputed and which elements are not. Further, neither legal arguments nor

  28        conclusions constitute facts.


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   1      • The fourth column shall contain a citation to admissible evidence that the

   2        Proponent believes supports the proffered fact. If any party fails to provide a

   3        pin cite to the supporting evidence, then the Court will deem the proffered

   4        fact (or dispute) unsupported. See generally Christian Legal Soc. v. Wu, 626

   5        F.3d 483, 488 (9th Cir. 2010) (“Judges are not like pigs, hunting for truffles

   6        buried in briefs.” (quoting Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir.

   7        1994) (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)

   8        (per curiam)) (alteration omitted))). As a rule of thumb, pin citations should

   9        refer to no more than five pages at a time.

   10     • The fifth column shall first identify whether the proffered statement of fact

   11       is disputed or not. The entry must begin with either the word “Disputed”

   12       or “Undisputed.” If disputed, the Opponent must concisely (1) identify

   13       counter-evidence that contradicts or otherwise disputes the statement of

   14       fact, with a brief explanation; or (2) make an evidentiary objection. Counter-

   15       evidence must include a pin cite to the record (i.e., a page number and, when

   16       available, a line or paragraph number). If a party attempts to dispute a fact

   17       but fails to offer any counter-evidence, or only offers counter-evidence that

   18       falls short of contradicting the proffered fact, then the Court will deem the

   19       fact undisputed for the purposes of the motion. See Fed. R. Civ. P. 56(e)(2),

   20       L.R. 56-3. Additionally, any evidentiary objection must cite a specific rule

   21       and provide a short rationale or explanation. The Court will disregard

   22       “boilerplate recitations of evidentiary principles or blanket objections

   23       without analysis applied to specific items of evidence.” Doe v. Starbucks,

   24       Inc., 2009 WL 5183773, at *1 (C.D. Cal. Dec. 18, 2009); Amaretto Ranch

   25       Breedables v. Ozimals Inc., 907 F. Supp. 2d 1080, 1081 (N.D. Cal. 2012)

   26       (“This Court need not address boilerplate evidentiary objections that the

   27       parties themselves deem unworthy of development.”). For example, simply

   28       asserting that evidence is irrelevant or otherwise lacks foundation−without


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  1          any specific and tailored explanation why−will not constitute a proper

  2          evidentiary objection. See Communities Actively Living Indep. & Free v. City

  3          of Los Angeles, 2011 WL 4595993, at *8 (C.D. Cal. Feb. 10, 2011)(summarily

  4          overruling boilerplate evidentiary objections when the grounds for the

  5          objections were unduly vague and overbroad). If the Opponent has multiple

  6          objections, then the Opponent should number them (1), (2), (3), and so on.

  7        • In the final column, the Proponent may reply to any objections made by the

  8          Opponent. A reply is not strictly necessary. The Court will treat any fact as

  9          disputed only when (1) the Opponent objects as such; (2) the Court deems

  10         the counter-evidence admissible or the evidentiary objection credible; and

  11         (3) the Proponent offers no reply. If the Proponent chooses to respond, then

  12         the Proponent must also (a) identify evidence that rehabilitates its statement

  13         of fact or undermines the Opponent’s counterevidence; (b) make an

  14         evidentiary objection to the counterevidence, citing the specific evidentiary

  15         rule and providing a rationale; or (c) explain why the Opponent’s evidentiary

  16         objection is erroneous. Any further citations to the record must again

  17         include a pin cite. If the Opponent makes multiple objections, then the

  18         Proponent should reference the same number when providing a reply. If the

  19         Proponent has multiple replies to any given objection, then the Proponent

  20         should list them as (A), (B), (C), and so on.

  21   Parties are advised to use Microsoft Excel, but they may use whichever program

  22   best facilitates legibility.³ The moving party (or parties) must transmit a copy of

  23   the Joint Statement by email to JWH_Chambers@cacd.uscourts.gov at the time

  24   they file their motion.

  25         An illustrative example of the Joint Statement is set forth below:

  26   ____________________
       3     If the parties choose to use Microsoft Excel, then they must not merge cells;
  27
       they should use the alt enter function to create paragraph breaks within a single cell.
  28


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   1
         No. Proponent Statement of Fact          Supporting           Opponent’s Response              Proponent’s Reply
   2
                                                  Evidence
   3
        1.   Plaintiff   Plaintiff was driving Joint Exhibit Part Undisputed.
   4
                         her car when she       A at 10, ¶ 2 (Pl.’s
   5                     went through the       Decl.).

   6                     intersection.


   7    2.   Plaintiff   The light was green Joint Exhibit Part Disputed. The Light was red
                         when Plaintiff went    A at 10, ¶ 4 (Pl.’s when Plaintiff traveled
   8
                         through the            Decl.).               through the intersection.
   9                     intersection.                                Joint Exhibit Part C at 253:3-

   10                                                                 11 (Def.’s Expert Report).


   11
        3.   Plaintiff   Plaintiff was driving Joint Exhibit Part Disputed. Plaintiff was driving
   12                    at 35 miles per hour A at 10, ¶ 7 (Pl.’s 52 miles per hour when she

   13                    when she traveled      Decl.); Joint         went through the intersection.
                         through the            Exhibit Part B at Joint Exhibit Part C at 253:11-
   14
                         intersection.          115, ¶ 14 (Report 254:2 (Def.’s Expert Report).
   15                                           by Pl.’s Expert).

   16
        4.   Defendant   Passenger A shouted Joint Exhibit Part Disputed. FRE 802: This                FRE 803(2): This
   17
                         at Plaintiff to stop   C at 25:3-7 (Dep. statement is inadmissible            statement qualifies as a
   18                    looking at her phone of Passenger B).        hearsay because it is a          hearsay exception
                         while she drove                              statement, made by an out-of- because it was an
   19
                         through the                                  court declarant (Passenger A), excited utterance that
   20                    intersection.                                being offered to support the     occurred moments

   21                                                                 assertion that Plaintiff was     before the crash.
                                                                      looking at her phone while
   22
                                                                      driving in the intersection.
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   1
         No. Proponent Statement of Fact              Supporting          Opponent’s Response           Proponent’s Reply
   2
                                                      Evidence
   3
         5.    Defendant   Defendant is a good Joint Exhibit Part Disputed.
   4
                           driver.             B at 118:23-28
                                                                    (1) Defendant is not a good       (1)(A) Defendant’s
   5                                           (Dep of Def.’s
                                                                    driver. Defendant drove the       friend has unreliable
   6                                           Mother).
                                                                    wrong way on a one-way road memory. Joint Exhibit

   7                                                                as recently as a year ago. Joint Part C at 202:2-9 (Decl.
                                                                    Exhibit Part C at 204:4-25        of Def.’s Friend).
   8
                                                                    (Decl. of Def.’s Friend).
                                                                                                      (1)(B) Defendant has no
   9
                                                                    (2) FRE 602, 701: The             moving violations on
   10                                                               supporting evidence is            her official driving

   11                                                               inadmissible because the          record. Joint Exhibit
                                                                    Defendant’s mother lacks          Part B at 179 (DMV
   12
                                                                    personal knowledge of             record).
   13                                                               Defendant’s driving. She has
                                                                                                      (2)While Defendant’s
                                                                    not seen Defendant drive in
   14                                                                                                 mother has not seen her
                                                                    two years. Joint Exhibit Part B
   15                                                                                                 drive in two years, she
                                                                    at 117:10-12 (Dep. of Def.’s
                                                                                                      remembers Defendant’s
   16                                                               Mother).
                                                                                                      driving abilities. Joint

   17                                                               (3)This statement is not a fact; Exhibit Part B at 116:15
                                                                    it is an opinion.                 (Dep. of Def.’s Mother)
   18
   19
         ...   ...         ...                  ...                 ...                               ...
   20
   21          Please see the appendix for a demonstrative aid for more information.

   22          13. Ex ParteApplications. Ex parte applications are considered on the

   23   papers, and applicants need not set them for hearing. Counsel are advised that this

   24   Court allows ex parte applications solely for extraordinary relief. Sanctions may be

   25   imposed for the misuse of ex parte applications. See In re Intermagnetics Am., Inc.,

   26   101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar with

   27   Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488

   28   (C.D. Cal. 1995), regarding ex parte applications.


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   1          The Court directs Counsel’s attention to L.R. 7-19. The moving party’s

   2    declaration in support of an ex parte application shall show compliance with

   3    L.R. 7-19 and this Order, and it shall include a statement of opposing counsel’s

   4    position. Failure to do so ensures the application will be DENIED. The other

   5    parties’ opposition, or notice of non-opposition (which notice may be provided

   6    telephonically to the Courtroom Deputy Clerk (951-328-4462)), to an ex parte

   7    application is due 24 hours−not the next court day−after the other parties’

   8    receipt of the ex parte application. In view of that 24-hour deadline for opposition

   9    papers, in the absence of a true emergency, the Court takes a dim view of

   10   applicants who file their ex parte applications on Fridays or on the day before a

   11   court holiday. As with all motion papers, counsel must deliver a Mandatory

   12   Chambers Copy in accordance with Paragraph 5 above. Counsel will be notified

   13   by the Courtroom Deputy Clerk of the Court’s ruling, or of a hearing time and

   14   date if the Court determines that a hearing is necessary.

   15         14. Stipulations. Stipulations extending scheduling dates set by this

   16   Court are not effective unless and until approved by the Court. Continuances will

   17   be granted only upon a showing of good cause. The assertion that the parties have

   18   not concluded their discovery efforts does not constitute “good cause.” The

   19   assertion that the parties are not ready for trial does not constitute “good cause.”

   20         15. Communication with Chambers. Unless requested to do so,

   21   counsel shall not attempt to contact the Court or its staff by telephone or by any

   22   other ex parte means. Counsel are directed to review the Central District’s website

   23   at www.cacd.uscourts.gov for the Local Rules, filing procedures, judges’

   24   procedures and schedules, calendars, forms, and Pacer access. Counsel may

   25   contact the Courtroom Deputy Clerk, Irene Vazquez, by telephone at 951-328-4462

   26   or by email at irene_vazquez@cacd.uscourts.gov only in the event that counsel

   27   cannot find the desired information through all available resources.

   28   ///


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   1        16. Telephonic and Video Appearances. The Court does not conduct

   2    telephonic hearings. Counsel must request a video appearance for a hearing

   3    through the Courtroom Deputy Clerk, by email at

   4    JWH_Chambers@cacd.uscourts.gov, at least one week before the scheduled

   5    hearing.

   6        17. Bench Trials: Findings and Conclusions. When parties file

   7    proposed findings of fact and conclusions of law pursuant to Rule 52 and L.R. 52-1

   8    & 52-3, the proposed findings and proposed conclusions shall be consecutively

   9    numbered. If, for example, the proposed findings end at paragraph 26, then the

   10   first proposed conclusion shall begin with paragraph 27.

   11              IT IS SO ORDERED.

   12
   13
        Dated: February 25, 2022
   14
                                          John W. Holcomb
   15                                     UNITED STATES DISTRICT JUDGE

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   15                          APPENDIX

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